USDC IN/ND case 1:24-cv-00239-PPS-APR               document 1        filed 06/07/24   page 1 of 9


                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                              FORT WAYNE DIVISION

 INDIANA WESLEYAN UNIVERSITY, )                         Case No. 1:24-cv-239
                              )
                Plaintiff,    )
      v.                      )
                              )
 OLÉ HOLDINGS, INC.,          )
                              )
                Defendant.    )

      INDIANA WESLEYAN UNIVERSITY’S COMPLAINT FOR DAMAGES
                  AND DECLARATORY JUDGMENT

         Plaintiff, Indiana Wesleyan University (“IWU”), by counsel, for its Complaint for

Damages and Declaratory Judgment against Defendant, Olé Holdings, Inc. (“Olé”), states:

         1.     IWU is a Christian comprehensive university committed to liberal arts and

professional education located in Marion, Indiana.

         2.     IWU is one of the world’s most experienced online universities with over 25

years of online development. It offers hundreds of online courses in over 90 degree programs.

         3.     IWU and Olé entered into an agreement under which IWU would expand its

online offerings into multiple universities in Ethiopia using Olé’s integrated online education

platform.

         4.     In furtherance of the parties’ agreement, IWU loaned nearly $1.7 million to Olé

to aid its efforts to launch the project in Ethiopia.

         5.     The parties’ relationship deteriorated when Olé failed to launch the project in

Ethiopia and failed to begin making payments on the loan.

         6.     IWU brings this action to collect the monies it loaned to Olé, which Olé has

not repaid, and for a declaratory judgment that the parties’ contract is terminated.




QB\90244581.1
USDC IN/ND case 1:24-cv-00239-PPS-APR               document 1      filed 06/07/24   page 2 of 9


                         PARTIES, JURISDICTION, AND VENUE

         7.     IWU is an Indiana nonprofit corporation with a principal place of business

located at 4201 S Washington Street, Marion, Indiana 46953. IWU is, thus, a citizen of

Indiana for diversity jurisdiction purposes.

         8.     Olé is a Delaware corporation with its principal place of business at 3664

Asbury Street, Dallas, Texas 75205. Olé is, thus, a citizen of Delaware and Texas for diversity

jurisdiction purposes.

         9.     This Court has personal jurisdiction over Olé because it purposely availed itself

of the privileges of conducting business in Indiana, including:

                a.     Olé entered into multiple contracts with, and borrowed money from,

         IWU in Indiana;

                b.     Dalen Harrison, Olé’s President and CEO, planned to visit IWU’s

         campus for an in-person meeting on March 18, 2020, but the meeting was cancelled

         due to global shutdowns related to COVID-19; and

                c.     On March 14, 2022, Mr. Harrison traveled to Indianapolis, Indiana and

         met with IWU to discuss the project that is at issue in this lawsuit.

         10.    Jurisdiction is proper in this Court under 28 U.S.C. § 1332 because the parties

are completely diverse and the amount in controversy exceeds $75,000, exclusive of interest

and costs.

         11.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because the United

States District Court for the Northern District of Indiana embraces Grant County, Indiana,

where a substantial part of the events giving rise to IWU’s claims occurred.




QB\90244581.1
USDC IN/ND case 1:24-cv-00239-PPS-APR              document 1     filed 06/07/24    page 3 of 9


                                 GENERAL ALLEGATIONS

         12.      In early 2020, IWU engaged in discussions with Olé regarding enhancing and

expanding IWU’s international online education presence.

         13.      IWU was particularly interested in Olé’s efforts to collaborate with the

Ethiopian government’s Ministry of Science & Higher Education (“MoSHE”).

         14.      Between January and March 2020, IWU and Olé negotiated a proposal where

IWU would provide educational services in Ethiopia through MoSHE (the “Project”).

         15.      In April 2020, IWU and Olé entered into the Educational Services Platform

Strategic Development, Licensing, & Cooperation Agreement, commonly referred to as the

Master Cooperation Agreement (the “MCA”). A true and accurate copy of the MCA, as

amended by the January 28, 2021 Amendment to Agreement, is attached as Exhibit A.

         16.      Under the MCA, the Parties agreed that:

                  a.    Olé would license its Educational Services Platform (“ESP”) to IWU,

         which IWU would use to provide educational services to Ethiopian citizens, including

         degree programs, skills-specific training, and certifications for teachers and

         government employees (the “Educational Services”);

                  b.    The total licensing fee for the ESP would be $5,000,000 (the “Licensing

         Fee”);

                  c.    In exchange for the licensing of the ESP, IWU would pay Olé an initial

         $500,000 in two equal payments of $250,000 each (the “Initial Investment”); and

                  d.    The remaining $4,500,000 of the Licensing Fee would be paid through

         joint fundraising, on the condition that Olé would secure partnership with MoSHE.




QB\90244581.1
USDC IN/ND case 1:24-cv-00239-PPS-APR            document 1       filed 06/07/24   page 4 of 9


         17.    The MCA operated on the condition precedent that MoSHE and Olé would

execute an agreement for the provision of educational services to Ethiopian citizens, which

would result in the Ethiopian government releasing funds to: (a) pay for the use of the ESP in

Ethiopia; and (b) provide scholarships and support for IWU’s Educational Services.

         18.    IWU made the two payments of $250,000 each to Olé on May 19, 2020, and

June 18, 2020, which satisfied IWU’s Initial Investment obligation.

         19.    In addition to the Initial Investment, IWU loaned Olé money in multiple draws

to support Olé’s negotiations with Ethiopia and to develop the ESP pursuant to the MCA (the

“Bridge Loan”).

         20.    In total, Olé borrowed $1,679,000 from IWU under the Bridge Loan over the

course of thirteen separate draws:

                a.     $250,000 on July 13, 2020, which Olé agreed to repay December 31,

         2020; a true and accurate copy of the Bridge Letter of Agreement that evidences this

         draw is attached as Exhibit B;

                b.     $125,000 on August 14, 2020, which Olé agreed to repay by December

         31, 2020; a true and accurate copy of the Bridge Letter of Agreement that evidences

         this draw on the Bridge Loan is attached as Exhibit C;

                c.     $125,000 on August 27, 2020, which Olé agreed to repay by December

         31, 2020; a true and accurate copy of the Bridge Letter of Agreement that evidences

         this draw on the Bridge Loan is attached as Exhibit D;

                d.     $125,000 on September 14, 2020, which Olé to repay by December 31,

         2020; a true and accurate copy of the Bridge Letter of Agreement that evidences this

         draw on the Bridge Loan is attached as Exhibit E;



QB\90244581.1
USDC IN/ND case 1:24-cv-00239-PPS-APR             document 1      filed 06/07/24   page 5 of 9


                e.     $125,000 on September 28, 2020, which Olé agreed to repay by

         December 31, 2020; a true and accurate copy of the Bridge Letter of Agreement that

         evidences this draw on the Bridge Loan is attached as Exhibit F;

                f.     $125,000 on October 13, 2020, which Olé agreed to repay by December

         31, 2020; a true and accurate copy of the Bridge Letter of Agreement that evidences

         this draw on the Bridge Loan is attached as Exhibit G;

                g.     $125,000 on October 29, 2020, which Olé agreed to repay by December

         31, 2020; a true and accurate copy of the Bridge Letter of Agreement that evidences

         this draw on the Bridge Loan is attached as Exhibit H;

                h.     $125,000 on November 11, 2020, which Olé agreed to repay by

         December 31, 2020; a true and accurate copy of the Bridge Letter of Agreement that

         evidences this draw on the Bridge Loan is attached as Exhibit I;

                i.     $125,000 on November 25, 2020, which Olé agreed to repay by

         December 31, 2020; a true and accurate copy of the Bridge Letter of Agreement that

         evidences this draw on the Bridge Loan is attached as Exhibit J;

                j.     $125,000 on December 15, 2020, which Olé agreed to repay by January

         31, 2021; a true and accurate copy of the Bridge Letter of Agreement that evidences

         this draw on the Bridge Loan is attached as Exhibit K;

                k.     $125,000 on December 31, 2020, which Olé agreed to repay by January

         31, 2021; a true and accurate copy of the Bridge Letter of Agreement that evidences

         this draw on the Bridge Loan is attached as Exhibit L;




QB\90244581.1
USDC IN/ND case 1:24-cv-00239-PPS-APR               document 1    filed 06/07/24   page 6 of 9


                l.     $125,000 on January 11, 2021, which Olé agreed to repay by January

         31, 2021; a true and accurate copy of the Bridge Letter of Agreement that evidences

         this draw on the Bridge Loan is attached as Exhibit M;

                m.     $54,000 on May 3, 2021, which Olé agreed to repay by May 30, 2021; a

         true and accurate copy of the Bridge Letter of Agreement that evidences this draw on

         the Bridge Loan is attached as Exhibit N

(Exhibit B through Exhibit N are collectively referred to as the “Bridge Loan”).

         21.    IWU has extended the due date for the Bridge Loan several times.

         22.    On February 3, 2022, Mr. Harrison explained that Olé would begin repayment

of the Bridge Loan upon execution of the agreement with MoSHE. A true and accurate copy

of the letter is attached as Exhibit O.

         23.    Upon information and belief, Olé has not entered into an agreement with

MoSHE or the Ethiopian government for the provision of educational services.

         24.    Olé owes IWU the entire outstanding balance under the bridge loan:

$1,679,000.

         25.    Olé has not made any payments on the Bridge Loan.

                          COUNT I – BREACH OF CONTRACT

         26.    IWU incorporates by reference paragraphs 1 through 25 of this Complaint as if

fully restated here.

         27.    The Bridge Loan constitutes a valid and enforceable contract between IWU

and Olé.

         28.    The Bridge Loan was in full force and effect at all times relevant to the

allegations in this Complaint.



QB\90244581.1
USDC IN/ND case 1:24-cv-00239-PPS-APR              document 1      filed 06/07/24    page 7 of 9


         29.    Under the Bridge Loan, IWU loan $1,679,000 to Olé and Olé agreed to repay

those funds to IWU.

         30.    Olé has not paid IWU any amounts owed under the Bridge Loan.

         31.    There is an unpaid sum due and owing to IWU under the Bridge Loan in the

amount of $1,679,000.

         32.    Olé’s failure to pay IWU constitutes a material breach of the Bridge Loan.

         33.    IWU has suffered and continues to suffer damages as a result of Olé’s breach

of their agreement.

         WHEREFORE, IWU requests that this Court enter judgment in its favor and against

Olé in the amount of $1,679,000, plus pre- and post-judgment interest, and grant IWU all

other appropriate relief.

                            COUNT II – UNJUST ENRICHMENT

         34.    IWU incorporates by reference paragraphs 1 through 25 of this Complaint as if

fully restated here.

         35.    At Olé’s request, IWU loaned $1,679,000 to it.

         36.    Olé agreed to repay IWU the amounts it loaned to Olé under the Bridge Loan.

         37.    Olé has failed to repay IWU the amounts owed under the Bridge Loan.

         38.    By releasing funds to Olé under the Bridge Loan, Olé has conferred a

measurable benefit on IWU in the amount of $1,679,000.

         39.    It would be unjust for Olé to retain the benefit conferred upon it by IWU

without being required to repay IWU for the full amount of the Bridge Loan.

         40.    Accordingly, pleaded in the alternative, IWU is entitled to recover the benefits

that it conferred upon Olé under the theory of unjust enrichment.



QB\90244581.1
USDC IN/ND case 1:24-cv-00239-PPS-APR              document 1      filed 06/07/24    page 8 of 9


         WHEREFORE, IWU requests that this Court enter judgment in its favor and against

Olé in the amount of $1,679,000, plus pre- and post-judgment interest, and grant IWU all

other appropriate relief.

                            COUNT III- DECLARATORY JUDGMENT

         41.    IWU incorporated by reference paragraphs 1 through 25 of this Complaint as

if fully restated here.

         42.    The MCA constitutes a valid and enforceable contract between IWU and Olé.

         43.    A condition precedent to IWU’s continued performance under the MCA is

Olé’s requirement to secure a contract with MoSHE under which IWU would provide the

Educational Services to Ethiopian citizens.

         44.    Because Olé has not secured a contract with MoSHE, IWU is discharged of its

obligations under the MCA.

         45.    An actual controversy exists as to whether IWU is liable for the unpaid

Licensing Fees under the MCA.

         46.    IWU desires a judicial determination that IWU is not liable for any of the

unpaid Licensing Fees under the MCA.

         47.    A judicial declaration is necessary and appropriate under the circumstances so

that IWU may ascertain and understand its rights and obligations under the MCA, including

whether it owes any unpaid Licensing Fees.

         48.    A judicial determination at this time will lessen the financial and other burdens

incurred by IWU and confirm the parties’ responsibilities under the MCA.

         49.    Under 28 U.S.C. § 2201, this Court is authorized to adjudicate and decide the

parties’ respective rights and obligations and to determine, under Indiana law, whether Olé



QB\90244581.1
USDC IN/ND case 1:24-cv-00239-PPS-APR             document 1       filed 06/07/24    page 9 of 9


failed to fulfill its obligations and satisfy the conditions precedent to IWU becoming liable for

any unpaid Licensing Fees.

         WHEREFORE, IWU requests judgment in its favor, a declaration by this Court that

IWU has no further obligations or liabilities under the MCA, and an award of all other

appropriate relief.

Dated: June 7, 2024
                                                    QUARLES & BRADY LLP

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